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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,                  )
                                              )
                Plaintiff,                    )
                                              )
       v.                                     )        Cause No. 1:20-cv-00037-HAB-SLC
                                              )
BAICELLS TECHNOLOGIES INC.,                   )
BAICELLS TECHNOLOGIES NORTH                   )
AMERICA INC.,                                 )
                                              )
                Defendants.                   )

                                APPEARANCE OF COUNSEL

To:    The clerk of court and all parties of record.

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for the Plaintiff, LigTel Communications, Inc.


                                              Respectfully submitted,



Date: 2/21/20                                 By:      /s/ Michael L. Schultz
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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that a copy of the foregoing has been served upon the following

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